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                    EXHIBIT 3
          Case
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                                                           Register of Actions
                                                             Case No. 09-010589-01-FC



                                                                      Party Information

                                                                                                                             Attorneys
 Appellate      Bunting, Lawrence J.
 Attorney


 Appellate      Cook, Donald R
 Attorney


 Defendant      West, Anthony Craig                                                                                          Robert E. Slameka
                                                                                                                              Retained
                                                                                                                             (313) 961-5011(W)


 Plaintiff      State of Michigan                                                                                            Robert A. Stevens
                                                                                                                             (313) 224-2890(W)


                                                                                                                             Rajesh Krishna Prasad
                                                                                                                             (313) 226-0821(W)


                                                                     Charge Information

 Charges: West, Anthony Craig                                                              Statute                Level                    Date
 1. Homicide - Murder First Degree - Premeditated                                          750316-A               .                        04/15/2009
 2. Weapons - Firearms - Possession By Felon                                               750224F                .                        04/15/2009
 3. Weapons Felony Firearm                                                                 750227B-A              .                        04/15/2009
 4. Homicide - Murder - Second Degree                                                      750317                 .                        10/05/2009
 5. Habitual Offender - Third Offense Notice                                               76911                  .                        10/05/2009


                                                                 Events & Orders of the Court

            DISPOSITIONS
 04/19/2009 Plea (Judicial Officer: McDuffee, Renee R.)
              1. Homicide - Murder First Degree - Premeditated
                      Defendant Stand Mute: Plea of Not Guilty Entered by Court

 04/19/2009 Plea (Judicial Officer: McDuffee, Renee R.)
              2. Weapons - Firearms - Possession By Felon
                      Defendant Stand Mute: Plea of Not Guilty Entered by Court

 04/19/2009 Plea (Judicial Officer: McDuffee, Renee R.)
              3. Weapons Felony Firearm
                      Defendant Stand Mute: Plea of Not Guilty Entered by Court

 10/05/2009 Disposition (Judicial Officer: Evans, Vonda R.)
              1. Homicide - Murder First Degree - Premeditated
                       Dismissed - Plea Reduction
              2. Weapons - Firearms - Possession By Felon
                       Dismissed - Plea Reduction
              3. Weapons Felony Firearm
                       Pled Guilty
              4. Homicide - Murder - Second Degree
                       Pled Guilty
              5. Habitual Offender - Third Offense Notice
                       Pled Guilty

 10/21/2009 Sentence (Judicial Officer: Evans, Vonda R.)
             4. Homicide - Murder - Second Degree
                     Fee Totals:
                         - Crime Victims Fee -
                                                                $60.00
                         (FEL)
                         - State Minimum Cost
                                                               $136.00
                         (FEL)
                         - Restitution                       $4,348.70
                         - Restitution                           $0.00
                     Fee Totals $                            $4,544.70
                     SGL Range (Minimum 270 Months, Maximum 675 Months)
                     State Confinement:
                         Agency: Michigan Department of Corrections
                         Effective 10/21/2009
                         Term: 20 Yr to 40 Yr
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               5. Habitual Offender - Third Offense Notice
                        Fee Totals:
                            - Crime Victims Fee -
                                                                   $60.00
                            (FEL)
                            - State Minimum Cost
                                                                  $136.00
                            (FEL)
                            - Restitution                       $4,348.70
                            - Restitution                           $0.00
                        Fee Totals $                            $4,544.70
                        SGL Range (Minimum 270 Months, Maximum 675 Months)
                        State Confinement:
                            Agency: Michigan Department of Corrections
                            Effective 10/21/2009
                            Term: 20 Yr to 40 Yr

 10/21/2009 Sentence (Judicial Officer: Evans, Vonda R.)
             3. Weapons Felony Firearm
                     State Confinement:
                         Agency: Michigan Department of Corrections
                         Effective 10/21/2009
                         Term: 2 Yr to 2 Yr
                         Credit for Time Served: 188 Days


            OTHER EVENTS AND HEARINGS
 04/15/2009 Recommendation for Warrant
 04/18/2009 Recommendation for Warrant
 04/18/2009 Warrant Signed
 04/19/2009 Interim Condition for West, Anthony Craig
              - Remand
                $0.00
 04/19/2009 Arraignment on Warrant (9:00 AM) (Judicial Officer McDuffee, Renee R.)
              Parties Present
            Result: Defendant Stands Mute; Plea Of Not Guilty Entered By Court
 04/30/2009 Preliminary Examination (9:00 AM) (Judicial Officer Coleman, Donald)
              Parties Present
            Result: Held: Bound Over
 04/30/2009 Appearances by a Retained Attorney Filed
 04/30/2009 Bound Over
 04/30/2009 Order For Production Of Exam Transcript Signed and Filed
                31 pages
 05/07/2009 Scheduled AOI
 05/07/2009 Arraignment On Information (9:00 AM) (Judicial Officer Hathaway, Cynthia Gray)
              Parties Present
            Result: Held
 05/07/2009 Disposition Conference (9:00 AM) (Judicial Officer Hathaway, Cynthia Gray)
              Parties Present
            Result: Held
 05/07/2009 Calendar Conference (9:00 AM) (Judicial Officer Hathaway, Cynthia Gray)
              Parties Present
            Result: Held
 06/19/2009 Final Conference (9:00 AM) (Judicial Officer Hathaway, Cynthia Gray)
              Parties Present
            Result: Held
 06/19/2009 Motion (Judicial Officer: Hathaway, Cynthia Gray )
 06/19/2009 Heard And Granted - Order Signed and Filed (Judicial Officer: Hathaway, Cynthia Gray )
 08/10/2009 Pre-Trial (9:00 AM) (Judicial Officer Hathaway, Cynthia Gray)
            Result: In Progress
 08/14/2009 Pre-Trial (9:00 AM) (Judicial Officer Hathaway, Cynthia Gray)
              Parties Present
            Result: In Progress
 08/17/2009 Pre-Trial (9:00 AM) (Judicial Officer Hathaway, Cynthia Gray)
              Parties Present
               07/13/2009 Reset by Court to 08/17/2009
            Result: Held
 10/05/2009 Jury Trial (9:00 AM) (Judicial Officer Evans, Vonda R.)
              Parties Present
            Result: Plea Entered and Accepted
 10/05/2009 Plea of Guilty Accepted (Judicial Officer: Evans, Vonda R. )
 10/05/2009 Refer to Probation For Pre-Sentence Report (Judicial Officer: Evans, Vonda R. )
 10/05/2009 Order For DNA Sample - Signed and Filed (Judicial Officer: Evans, Vonda R. )
 10/05/2009 Case Reassigned
 10/21/2009 Sentencing (9:00 AM) (Judicial Officer Evans, Vonda R.)
              Parties Present
               10/21/2009 Reset by Court to 10/21/2009
            Result: Sentenced
 10/21/2009 Sentenced to Prison Order Signed and Filed (Judicial Officer: Evans, Vonda R. )
 10/21/2009 Order of Conviction and Sentence, Signed and Filed (Judicial Officer: Evans, Vonda R. )

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                                                            cmspublic.3rdcc.org/CaseDetail.aspx?CaseID=1165433
 11/05/2009 Order For Production Of Sentencing Transcript
 11/05/2009 Order For Production of Plea Transcript
 11/05/2009 Stenographer Certificate Required
 11/05/2009 Stenographer Certificate Required
 11/05/2009 Stenographers Certificate Filed
 12/01/2009 Notice of Transcript Filed
                Vol./Book 1 14 pages
 12/03/2009 Notice of Transcript Filed
                Vol./Book 1 15 pages
 10/20/2010 Motion For Relief From Judgment
 10/20/2010 Filed
 03/18/2011 Post Conviction (9:00 AM) (Judicial Officer Evans, Vonda R.)
 05/16/2011 Order Denying Motion for Relief from Judgment - S/F (Judicial Officer: Evans, Vonda R. )
 11/04/2011 Motion
 02/01/2012 Attorney Removed - New Attorney Assigned
 03/20/2012 Order For Production Of Transcript
 03/20/2012 Stenographer Certificate Required
 03/26/2012 Stenographers Certificate Filed
 04/19/2012 Notice of Transcript Filed
                Vol./Book 4 25 pages
 04/20/2012 Notice of Transcript Filed
                Vol./Book 1 6 pages
 09/27/2012 Denied By The Court Of Appeals
 12/14/2012 Transcript Filed
 12/05/2013 Application For Leave To File A Delayed Appeal (Circuit)
 07/14/2020 Motion For An Evidentiary Hearing
 07/14/2020 Motion For Relief From Judgment
 07/14/2020 Motion
 09/06/2022 Motion For Relief From Judgment
 10/11/2022 Case Reassigned
 01/17/2023 Order Denying Motion for Relief from Judgment - S/F (Judicial Officer: Cobb, Bradley L. )
 03/31/2023 CANCELED Post Conviction (9:00 AM) (Judicial Officer Cobb, Bradley L.)
              Case Disposed/Order Previously Entered
                10/13/2020 Reset by Court to 01/18/2022
                01/18/2022 Reset by Court to 12/06/2022
               12/06/2022 Reset by Court to 03/31/2023
 04/10/2023 Heard And Denied - Order Signed and Filed (Judicial Officer: Cobb, Bradley L. )
 10/23/2023 Opinion/Order Higher Court Signed and Filed (COA)
 04/16/2024 Opinion/Order Higher Court Signed and Filed (SUPREME)


                                                                  Financial Information

                                           Payment Links:     Criminal     Juvenile       Friend of the Court



              Defendant West, Anthony Craig
              Total Financial Assessment                                                                            4,544.70
              Total Payments and Credits                                                                              196.00
              Balance Due as of 08/15/2024                                                                          4,348.70

 10/21/2009   Transaction Assessment                                                                                4,544.70
 01/30/2012   Mail Payment               Receipt # 2012-02121                                 West, Anthony Craig   (138.60)
 05/30/2012   Mail Payment               Receipt # 2012-12295                                 West, Anthony Craig     (57.40)
 11/15/2017   Transaction Assessment                                                                                    38.00




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